                    IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE WESTERN DISTRICT OF LOUISIANA

IN RE: LADWAN JONES GUILLORY                                 CASE NO: 18-20810
       KEENYA JACKSON GUILLORY

                     TRUSTEE'S OBJECTION TO CONFIRMATION

        NOW INTO COURT, comes Keith A. Rodriguez, Standing Chapter 13 Trustee, who
objects to confirmation of the debtors' plan for the reasons respectfully indicated as follows:

       Hanging Paragraph - Per the claim filed by BASILE STATE BANK the transaction
       appears to fall under the "hanging paragraph", but the Plan proposes to pay less than the
       secured claim amount.

       -- Debtors have failed to turn over 2017 federal refund of $4,348.00 and 2017 state refund
       of $543.00 owed in prior case.

       -- Typo in tax pledge needs to be corrected.

       -- The debtor is 2.08 months in arrears for a total of $4,403.08 through December, 2018.

       -- Continuing debt in the plan.

       -- The plan does not provide to pay the correct monthly mortgage payment, per the claim
       filed.

        WHEREFORE, Trustee prays that a hearing be held and after due proceeding had, the
debtors' plan shall not be confirmed; or alternatively the debtors should be required to amend the
plan to satisfy the objections herein.

       Lafayette, Louisiana this 4th day of January, 2019.

                                                  /s/ Keith A. Rodriguez
                                                  KEITH A. RODRIGUEZ
                                                  STANDING CHAPTER 13 TRUSTEE




   18-20810 - #24 File 01/04/19 Enter 01/04/19 11:31:12 Main Document Pg 1 of 2
                                CERTIFICATE OR SERVICE

I do hereby certify that a copy of the foregoing has been served on the debtors:

LADWAN JONES GUILLORY
KEENYA JACKSON GUILLORY
2131 21ST ST
LAKE CHARLES, LA 70601

and the debtors' attorney:

HAL LAPRAY
ATTORNEY AT LAW
2201 OAK PARK BLVD
LAKE CHARLES, LA 70601

by placing same in the United States Mail, postage prepaid or by electronic case filing this 4th
day of January, 2019.

                                                  /s/ Keith A. Rodriguez
                                                  KEITH A. RODRIGUEZ
                                                  STANDING CHAPTER 13 TRUSTEE




   18-20810 - #24 File 01/04/19 Enter 01/04/19 11:31:12 Main Document Pg 2 of 2
